 1                                                                                Honorable Marc. L. Barreca
 2                                                                                                Chapter 7
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 7
 8
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10
11                               UNITED STATES BANKRUPTCY COURT
12                               WESTERN DISTRICT OF WASHINGTON
13
                                           AT SEATTLE
14
15
16      In re                                                Case No. 14-10421-MLB
17
18      CASEY R. INGELS,
19                                     Debtor.
20
21
22
23
24
        JOHN S. PETERSON, as Bankruptcy Trustee,             Adversary No. 14-01387-MLB
25
26                                     Plaintiff,
27                                                           DEFENDANT’S PRETRIAL STATEMENT
28      vs.
29
30      CASEY R. INGELS,
31
32
33
                                       Defendant.
34
35
36               Defendant Casey R. Ingels (“Defendant” and/or “Ingels”), by and through counsel of
37
38        record, J. Todd Tracy, Jamie J. McFarlane and The Tracy Law Group PLLC, presents Plaintiff
39
40        John Peterson (“Plaintiff” and/or “Peterson”), his Pretrial Statement pursuant to Local
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        DEFENDANT’S PRETRIAL STATEMENT- 1
                                                                          720 Olive Way, Suite 1000
                                                                              Seattle, WA 98101
                                                                    206-624-9894 phone / 206-624-8598 fax
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 1       Bankruptcy Rule 7016-1(b) and this Court’s February 23, 2015 Amended Notice Of Trial
 2
 3       And Order Setting Deadlines and states as follows: 1
 4
 5
 6
                                                    I.       JURISDICTION
 7
 8                Plaintiff failed to file a Pretrial Statement; therefore, there are no jurisdictional issues
 9
10       that Plaintiff presented for Defendant to object to or change. Any tardily filed Pretrial
11
12       Statement submitted by Plaintiff should be stricken.
13
14
15
                  Defendant adds the following statements regarding this Court’s jurisdiction.
16
17                A.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
18
19       1334.
20
21                B.       Venue is proper pursuant to 18 U.S.C. § 1409.
22
23
24
                  C.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).
25
26                                            II.        ADMITTED FACTS
27
28                Plaintiff failed to file a Pretrial Statement; therefore, there are no admitted facts that
29
30       Plaintiff presented which Defendant may object to or change. Any tardily filed Pretrial
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32
33
         Statement submitted by Plaintiff should be stricken.
34
35                Defendant admits the following facts:
36
37                1.       The Defendant filed a Chapter 7 bankruptcy petition on January 23, 2014.
38
39                2.       The Defendant amended his bankruptcy schedules and related documents on
40
41
42
         January 24, 2014, and April 18, 2014.
43
44
45
46
47
         1 Counsel reserves the right to amend and/or add to this Pretrial Statement. Plaintiff’s failure to comply with
         this Court’s deadlines has made this caveat necessary.
        DEFENDANT’S PRETRIAL STATEMENT- 2
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 1               3.      On November 7, 2014, Defendant amended his bankruptcy schedules to
 2
 3       make clear that Defendant has no interest in the MJ Ray Ingels Irrevocable Trust available
 4
 5
 6
         for the bankruptcy estate.
 7
 8                       III.     DEFENDANT’S AFFIRMATIVE DEFENSES
 9
10               Defendant will pursue the following defenses against Plaintiff at trial.
11
12               1.       Failure to state a claim upon which relief can be granted;
13
14
15
                 2.      Malicious prosecution.
16
17                       IV.      DEFENDANT’S FACTUAL CONTENTIONS
18
19               Due to the failure of the Plaintiff to file a pretrial statement, there are no factual
20
21       allegations to contend. Defendant reserves the right to incorporate additional facts.
22
23
24
                 1.      Casey Ingels and his ex-wife, Gwendolyn Ingels, were divorced on June 8,
25
26       2009. They have two sons together.
27
28               2.      Casey Ingels created the MJ Ray Ingels Irrevocable Trust ("Irrevocable
29
30       Trust") for the benefit of his sons, and for the purpose of estate planning. After the
31
32
33
         Defendant’s divorce, the Defendant needed to change his estate planning, as his ex-wife was
34
35       listed as the sole beneficiary in his previous estate planning. Also, the couple agreed as part
36
37       of their Decree of Dissolution to put real property into a trust for the benefit of their
38
39       children.
40
41
42
                 3.      On November 15, 2009, the Defendant created the Irrevocable Trust. Tricia
43
44       Yue was named the Trustee of the Irrevocable Trust, and M. Ingels and J. Ingels, the
45
46       Defendant’s sons, were listed as beneficiaries of the Irrevocable Trust. Ms. Yue had a
47
         professional relationship with Mr. Ingels prior to agreeing to be Trustee of the Irrevocable
        DEFENDANT’S PRETRIAL STATEMENT- 3
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 1       Trust. Mr. Ingels decided to use Tricia Yue as Trustee of the Irrevocable Trust based upon
 2
 3       his experience with her in the legal field while she was working as a paralegal for Jack
 4
 5
 6
         Connelly at the Law Offices of Gordon, Thomas, Honeywell, Malanca, Peterson & Daheim.
 7
 8       Mr. Ingels met Ms. Yue while working as an attorney at the same firm. Based upon Ms.
 9
10       Yue’s experience in real estate transfers, Mr. Ingels trusted her to properly transfer real
11
12       property pursuant to the Divorce Decree.
13
14
15
                 4.      As indicated in the Irrevocable Trust, the Grantor, Casey Ingels, declared
16
17       pursuant to the Irrevocable Trust language that the Irrevocable Trust cannot be revoked at
18
19       any time by the Grantor.
20
21               5.      On December 3, 2009, by Special Warranty Deed, the Grantors of the Living
22
23
24
         Trust of James R. Paulson and Marijane L. Paulson (“Note Holders”) conveyed the
25
26       Dekoven Property to Tricia Yue, as Trustee of the Irrevocable Trust. Mr. Ingels had no
27
28       previous connection with the Note Holders.
29
30               6.      In exchange for the Special Warranty Deed on the Dekoven Property, the
31
32
33
         Trustee of the Irrevocable Trust, Ms. Yue, executed a Deed of Trust for the Note Holders,
34
35       securing payment of $612,000.00 with interest due and payable in full on January 1, 2015,
36
37       and Mr. Ingels contributed a down payment in the amount of $68,000.00. The underlying
38
39       promissory note (“Promissory Note”) required interest only payments until the due date of
40
41
42
         January 1, 2015, leaving the entire principal balance due and payable on January 1, 2015.
43
44               7.      Mr. Ingels did not attend the closing of the Dekoven Property, nor did he
45
46       sign any of the transfer documents, as he did not have any authority to do so, as he was not
47
         the Trustee of the Irrevocable Trust.
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 1               8.      The total amount of secured debt owed against the Dekoven Property at the
 2
 3       time of filing the underlying bankruptcy case was in excess of $612,000.00 due to the fact
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 5
 6
         that no principal payment amount was made on the Promissory Note or required.
 7
 8               9.      Addressing the other alleged property interest in the factual allegation made
 9
10       by the Plaintiff in the Complaint regarding MJB Consulting, in 2011, Kathryn Hanson
11
12       created MJB Consulting, an Idaho Limited Liability Company. The Debtor has no
13
14
15
         ownership interest in MJB Consulting, LLC, and never has. He performed consulting and
16
17       legal work for the firm as an independent contractor. Mr. Ingels received 1099 forms for all
18
19       payments to him by MJB Consulting, LLC.
20
21               10.     On January 23, 2014, the Defendant filed a personal Chapter 7 bankruptcy
22
23
24
         case in U.S. Bankruptcy Court, Western District of Washington. The Defendant declared
25
26       that he was not a consumer debtor under the Bankruptcy Code at the time of filing. The
27
28       Defendant did not list the Dekoven Property as an asset on Schedule A, Real Property,
29
30       because it belonged to the Irrevocable Trust, and he was not a beneficiary of the Irrevocable
31
32
33
         Trust that was created in 2009.
34
35               11.     The 341 Meeting was held on March 11, 2014. The Defendant answered the
36
37       Trustee's questions truthfully and to the best of his ability. The Plaintiff asked Mr. Ingels
38
39       whether any assets were transferred into the Irrevocable Trust. The Defendant said "no."
40
41
42
         Mr. Ingels’ believed that the Trustee was asking whether he had transferred property of the
43
44       bankruptcy estate to the Irrevocable Trust. Mr. Ingels answer was "no," because he never
45
46       held title to the Dekoven Property, and he never transferred any property of the bankruptcy
47


        DEFENDANT’S PRETRIAL STATEMENT- 5
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 1       estate to the Irrevocable Trust. The Dekoven Property was conveyed by the Note Holders
 2
 3       to the Irrevocable Trust by Special Warranty Deed.
 4
 5
 6
                 During the Debtor’s 341 Meeting, the Trustee then stated that Mr. Ingels transferred
 7
 8       the Dekoven Property to the Irrevocable Trust. The Debtor then clarified that he "misspoke
 9
10       then," as he had a different understanding of the term “asset” at the Meeting of Creditors.
11
12       In addition, at the time of the Meeting of Creditors, the Defendant answered the question
13
14
15
         whether assets were transferred to the Irrevocable Trust with “no” because he did not
16
17       believe that underwater real property was an “asset” of the Irrevocable Trust because it
18
19       lacked any equity available for the Irrevocable Trust.
20
21               12.     At the time of the bankruptcy filing, the Dekoven Property had a taxed
22
23
24
         assessed value of $505,300.00 and an amount owing of at least $612,000.00.
25
26               13.     At the Meeting of Creditors, the Trustee inquired about a transfer of the
27
28       Dekoven Property to MJB Consluting, LLC. Six months after the Meeting of Creditors, Mr.
29
30       Ingels learned that the Dekoven Property had been transferred via a Quitclaim Deed from
31
32
33
         the Irrevocable Trust to MJB Consulting, LLC, owned by Kathryn Hanson, on September 4,
34
35       2013. The Dekoven Property was transferred so that Kathryn Hanson, who started living in
36
37       the Dekoven Property, could get some potential benefit from making the payments that the
38
39       Irrevocable Trust was not making. Subsequently, Ms. Hanson transferred the Dekoven
40
41
42
         Property back to the Irrevocable Trust when the she realized that she would not be able to
43
44       meet the due date for payment in full on the Promissory Note due to a lack of equity in the
45
46       Dekoven Property.
47


        DEFENDANT’S PRETRIAL STATEMENT- 6
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 1               14.     Mr. Ingels had performed legal and consulting services for MJB Consulting,
 2
 3       LLC, as an independent contractor.
 4
 5
 6
                 15.     Throughout the Meeting of Creditors, the Plaintiff and Defendant found it
 7
 8       difficult to communicate with each other. Listening to the recording of the hearing
 9
10       reinforced this impression held by the Defendant.
11
12               16.     Defendant did not knowingly and/or fraudulently make a false oath or
13
14
15
         account in connection with his bankruptcy schedules.
16
17               17.     Plaintiff has failed to meet her burden of proof under 11 U.S.C. 727(a)(4)(A).
18
19       Accordingly, Plaintiff’s Complaint should be dismissed with prejudice and Debtor should
20
21       expeditiously be granted a discharge.
22
23
24
                                IV.      STATEMENT OF ISSUES OF LAW
25
26               Plaintiff failed to file a Pretrial Statement; therefore, Plaintiff presented no issues of
27
28       law which Defendant may object to or change. Any tardily filed Pretrial Statement submitted
29
30       by Plaintiff should be stricken.
31
32
33
                 Defendant asserts the following statement of issue of law.
34
35               1.      Should Plaintiff’s Complaint be dismissed for failure to comply with this
36
37       Court’s Amended Scheduling Order and the Federal Rules of Bankruptcy Procedure?
38
39               2.      Should Defendant be denied a discharge pursuant to 11 U.S.C. § 727(a)(4)
40
41
42
         where Debtor did not knowingly and/or fraudulently make a false oath or account relating
43
44       to statements made by the Debtor at the 341 Meeting “about the funding of the MJ Ray
45
46       Ingels Family Irrevocable Trust, property at 9830 Dekoven Dr. SW, Lakewood, Washington,
47


        DEFENDANT’S PRETRIAL STATEMENT- 7
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 1       transfers of the property to and from the trust and to MJB Conulting, LLC, and his
 2
 3       knowledge of MJB Consulting, LLC?”
 4
 5
 6
                                   V.      DEFENDANT’S WITNESSES
 7
 8               Plaintiff failed to file a Pretrial Statement. Plaintiff should be barred from calling any
 9
10       witnesses at trial. Plaintiff should be barred from testifying as a witness pursuant to RPC
11
12       3.7. There would be significant prejudice to the Defendant due to the fact that testimony
13
14
15
         and advocacy will be blended together as a result of the Plaintiff providing testimony while
16
17       acting as an attorney on his own behalf.
18
19               Defendant will not present any expert witness testimony. The names and addresses
20
21       of Defendant’s witnesses to be used at trial are as follows:
22
23
24
25               1. Name: Casey R. Ingels
26                  Address: c/o The Tracy Law Gourp PLLC, 720 Olive Way, Suite 1000, Seattle,
27                  WA 98101
28                  Telephone #: 206-624-9894
29                  Status: Expect to present
30                  Nature of Testimony: Defending against claim brought by Plaintiff
31
32
33
                 2. Name: Tricia Yue
34                  Address: 6623 49th Court West, University Place, WA 98467
35                  Status: Expect to present
36                  Nature of Testimony: Formation and oversight of MJ Ray Ingels Irrevocable
37                  Trust.
38
39               3. Name: Gwen Ingels
40
                    Address: 12020 Nyanza Road SW, Lakewood, WA 98499
41
42
                    Status: Will call if need arises
43                  Nature of Testimony: Formation of MJ Ray Ingels Irrevocable Trust and related
44                  matters
45
46               4. Name: Kathryn Hanson
47                  Address: c/o Mark Ellingsen, 608 Northwest Blvd. #300, CDA, Idaho, 83814.
                    Telephone #: 208-667-4000
        DEFENDANT’S PRETRIAL STATEMENT- 8
                                                                              720 Olive Way, Suite 1000
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 1                     Status: Will call if need arises
 2                     Nature of Testimony: Information about business relationship with Debtor
 3
 4
                                                 VI.     EXHIBITS
 5
 6
 7                 Plaintiff failed to file a Pretrial Statement and did not identify any Exhibits to be
 8
 9       proferred. Plaintiff should be barred from seeking the admission of any exhibits at trial, as
10
11       Defendant has had no chance to review the exhibits for objection to in his pretrial
12
13
         statement.
14
15
16                 Defendant intends to seek the admission of the following Exhibits and reserves the
17
18       right to admit additional exhibits if Plaintiff is allowed to offer any evidence:
19
20       Exhibit           Description                 Source       Status
21       P-1               Copies of Debtor’s          Casey R.     Expect
22
23
                           bankruptcy petition         Ingels       to offer
24                         and related documents
25                         and amendments to the
26                         same
27       P-2               Copies of MJ Ray            Casey R.     Expect
28                         Ingels Irrevocable          Ingels       to offer
29                         Trust                       and/or
30
                                                       Tricia
31
32
                                                       Yue
33       P-3               Copy of Deed of Trust       Casey R.     Expect
34                         related to Dekoven          Ingels       to offer
35                         Property signed by          and/or
36                         Tricia Yue, trustee of      Tricia
37                         MJ Ray Ingels               Yue
38                         Irrevocable Trust
39
40
         P-4               Copy of Decree of           Casey R.     Expect
41                         Dissolution – Lincoln       Ingels       to offer
42                         County Superior Court       and/or
43                         – Case #09-3-00283-0        Gwen
44                                                     Ingels
45       P-5               Copy of Special             Tricia       Expect
46                         Warranty Deed               Yue          to offer
47
                           conveying Dekoven
                           Property to Tricia Yue,
        DEFENDANT’S PRETRIAL STATEMENT- 9
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 1                      as Trustee of MJ Ray
 2                      Ingels Irrevocable
 3                      Trust
 4
 5
 6
          P-6           Copy of Quitclaim          Tricia     Expect
 7                      Deed signed by Tricia      Yue        to offer
 8                      Yue, as Trustee of
 9                      Irrevocable Trust,
10                      Transferring Dekoven
11                      Property to Living
12                      Trust of J. Paulson and
13                      M. Paulson on
14
15
                        December 18, 2014
16
17        P-7           Copy of Deed in Lieu       Tricia     Expect
18                      of Foreclosure for         Yue        to offer
19                      Dekoven Property
20
21        P-8           Plaintiff’s Answers to     John       Offer if
22                      Defendant’s First          Peterson   need
23                      Interrogatories and                   arises
24
                        Requests for
25
26                      Production
27
28        P-9           Plaintiff’s Response to John          Will
29                      Defendant’s Motion      Peterson      offer if
30                      for Summary Judgment                  need
31                                                            arises
32
33        P-10          Plaintiff’s Initial        John       Will
34
                        Disclosures                Peterson   offer if
35
36
                                                              need
37                                                            arises
38
39
40        P-11          Plaintiff’s Declaration   John        Will
41                      in Support of Plaintiff’s Peterson    offer if
42                      Response to Motion                    need
43                      for Summary Judgment                  arises
44
45
46
47


         DEFENDANT’S PRETRIAL STATEMENT- 10
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 1               DATED this 18th day of May 2015.
 2
                                                    THE
 3                                                        TRACY LAW GROUP PLLC
 4
 5
 6
 7                                                  By     /s/ Jamie J. McFarlane
 8                                                         J. Todd Tracy, WSBA #17342
 9                                                         Jamie J. McFarlane, WSBA #41320
10                                                  Attorneys for Defendant Casey R. Ingels
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         DEFENDANT’S PRETRIAL STATEMENT- 11
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